Case 01-23337 Document 2.\15"§%87® 04/12/17 Page 1 of 4

Unhed'st
80 g -“.°$ Eourt;
warsaw

ARBITRATOR’S Final Decision and Orders Dissolving Federal M{lmaerk°yc°un
Injunction, Dismissing Federal Receiver Rogers and Ruling on various
applications for Relief and for Clariiication concerning the Federal Court’s
Permanent Injunction (Dckt #48 entered October 18, 2002) and concerning
Federal Receiver appointed by this Arbitrator’s Predecessor in Case No. 01-
23337-€-11 I`N THE UNTI`ED STATES BANKRUPTCY COURT FOR
THE SOUTHERN DISTR_ICT OF TEXAS, CORPUS CHRISTI
DIVISION; In re Southwest Ranching Inc, Debtor, pursuant to Three
Orders of Hon. Marvin Isgur Nos. 243, 244 and 245 “Orders Appointing
Arbitrator” (ECF. No. 245); “Order on Subject Matter Jurisdiction” (ECF.
No. 244); and “Order Denying Immediate Relief and Referring Dispute to
Arbitration” (ECF No. 243), each signed by Judge Isgur on Oct. 17, 2016. (“3
Rulings of 10.17.16”)

Procedural History

1. This Arbitrator was appointed on October 17, 2016. Each of the parties and counsel
timely made appearances (Colonel Cliff`ord [CliH] Hoskins; Leonard [Len] K. Hoskins;
Marcus Rogers, Receiver; David Ylitalo, counsel for Leonard Hoskins; Glen Yale,
counsel for Receiver; Jim Hartnett, Jr., counsel for Receiver; Michael Sartori, counsel for
Colonel Clit’ton Hoskins as Independent Executor of the Estate of Hazel Q. Hoskins,
deceased; Deborah Williarnson, David Kinder, Mark Barrera and Melanie Frye, counsel
for Colonel CliRon Hoskins individually). On October 19, 2016, this Arbitrath ruled the
Arbitration Active, any prior abatement over. F or purpose of accomplishing the threshold
goals of the Courts’ Orders, the Receiver was ruled at that point in time not authorized by
this Arbitrath to file or otherwise pursue litigation, and, on October 25, 2016, every
party, lawyer and interested person in this Arbitration agreed to stand down and take no
further action, with agreed limited exceptions, awaiting outcome of this Arbitration. On
November l, 2016, per Agreement and Docket Control Order, the Arbitration was set
with every current party/counsel's agreement, for a two day hearing January 10-11, 2017.

2. This Arbitrator further ruled that discovery and subject matter was to be and remained
limited to (as discussed ata Hearing of November l, 2016) the threshold issues as
presented by Judge Isgur in his three orders of October 17, 2016: “Orders Appointing
Arbitrator” (ECF. No. 245); “Order on Subject Matter Jurisdiction” (ECF. No. 244); and
“Order Denying Irnmediate Relief and Referring Dispute to Arbitration” (ECF No. 243).

3. Prior to commencement of the January 10-11, 2017 Arbitration Hearing, the Parties
engaged in discovery. Each party and counsel signed an “Arbitration Agreement and

Page 1 of 4

ARBlTRATION pursuant to Three Orden of l-loo. M¢rvlo lsgur Nos. 243, 244 md 145 “Orden Appalntiog Arblmtor” (ECF. No. 245); “Order on
Subject Matter Jurisdiction” (ECF. No. 244); and “Order Denying immediate Relief and Referring Dispute to Arbltratlon” (ECF No. 243), each signed by
Judge ls¢nr on 0¢|. 17, 2016. (“3 Rnllngs of 10.17.16")

Case 01-23337 Document 259 Filed in TXSB on 04/12/17 Page 2 of 4

Rules” agreeing the Arbitration was governed by Texas Law, including the Texas
Arbitration Act, and, in the event of confiict, the US Bankruptcy Court for the Southern
District of Texas presiding over Case No. 01 -23337-C-l l has exclusive jurisdiction to
confu'm or vacate any award or other ruling by the Arbitrator (meaning Arbitrath
Radnofsky). All parties and counsel agreed to no record and requested none, per
Agreement language and at the beginning of the Arbitration Hearing on January 10-11,
2017, which Hearing Was conducted and concluded in San Antonio Texas, with a set
period for post submission briefing

4. The Parties further agreed in the “Arbitration Agreement and Rules” as follows'. “the
Arbitrator’s Decision shall consist only of a written statement signed by the Arbitrator
regarding the disposition of the parties’ claims. The parties agree that the Decision need
not contain any written statement of the reasons for the Decision.”

5. Aiter post-trial briefings, the Arbitrator issued her written Arbitration Ruling on January
24, 2017 (ECF 253); with Certification/Notice (ECF 254) accomplished January 26,
2017. Those Rulings and listed duties of the Parties and Counsel remain in effect,
particularly including providing notice to the Federal Court of any change in status, eg
incapacity or death of the Arbitrator.

6. The Parties sought additional Relief, commencing two more Arbitrations pursuant to the
broad grant of authority from Judge Isgur, including an Arbitration on Lis Pendens and
this Arbitration with Regard to the Federal Court’s Permanent Injunction, the Receiver,
appointed by this Arbitrator’s predecessor, and related matters

7. The parties filed additional materials at the request of the Arbitrator and held a telephonic
hearing on March 22, 2017 on both Arbitrations. All parties were represented by counsel
of record. An Order dated March 22, 2017 addressed the Lis Pendens issues, granting the
“Motion of Cliff Hoskins To Expunge Lis Pendens,” which Lis Pendens was filed by Len
Hoskins. That Order further required no change in ownership, encumbrance or transfer of
the property in question, requesting all parties report back immediately to this Arbitrath
on accomplishment of the expungement. The Parties reported back that Agreement was
reached on the Expungement filings and no further Order of the Arbitrator was required

8. At the time of the Order on Expungement, the Arbitrator advised the parties that a
separate Order would address remaining issues before her, including the Applications,
responses and Arguments regarding the Federal Court’s Permanent Injunction (Dckt. #
48) entered October 18, 2002; the Receiver appointed by this Arbitrator’s Predecessor;
and the requests and arguments made during the March 22 Arbitration hearing,
considering the briefing, issues, evidence, and arguments raised on history of the case,
law and facts presented in the first Arbitration heard in San Antonio in January 2017.

Page 2 of 4
ARBITRATION pursuant to Tlu'ee Orden of llon. ervln ls¢ur Nos. 243, 244 and 245 “Ordeu Appolnting Arhltrator" (ECF. No. 245); “Order on

Subject M\lter Jurisdlction” (ECF. No. 244); and “Order Denying Immedlote Relief and Referring Dlspute to Arbltration” (ECF Nn. 243), each signed by
Judge llgur on Oct. 17, 2016. (“3 Rnllngx of 10.17.16”)

Case 01-23337 Document 259 Filed in TXSB on 04/12/17 Page 3 of 4

Several additional issues were joined before the April 7, Final Arbitration Hearing for
these proceedings, all resultant from the three “Orders appointing Arbitrator,” Nos. 243,
244 and 245.

DECISIONS, RULINGS AND ORDERS of APRIL 12, 2017.

9. The Federal Receiver Marcus Rogers is discharged, which discharge will take
effect 10 days from entry of this Order, This Order does not prevent and does
not bar the Receiver in any way from continuing his work under the
supervision of the Probate Court as the State Court Receiver, All
appointments, responsibilities and grants of authority from the Federal
Arbitrator and Federal Court to Receiver Rogers are withdrawn, effective 10
days from entry of this Order. Counsel for Federal Receiver continued that no
claims are pending against the Bond of Receiver Marcus Rogers as F ederal
Receiver, and indeed none were ever made. Upon his discharge as the Federal
Receiver Marcus Rogers is also discharged as principal on his F ederal
Receiver bond, and the sureties on the bond of the Federal Receiver are
discharged

10. Determination of fees and expenses owed to Marcus Rogers as Federal
Receiver, if any, and the reimbursement, if any, owed to Len Hoskins for his
partial payment of fees to and expenses of Marcus Rogers, acting as Federal
Receiver, shall be decided by the Probate Court.

11.The Arbitrator DECLINES to Arbitrate the issues raised by Len Hoskins
regarding Cliff Hoskins’ collection efforts, turnover application, or Cliff
Hoskins’ award of attorneys fees and costs from winning his suit v Len
appeal of the arbitration

12. The Agreed Stand Down Order from this Arbitration of Fall 2016 is
dissolved, effective ten days from entry of this Order.

13. Len Hoskins has 30 days from the date of entry of this Order to tile his claims
in the Probate Court without incurring exposure to new limitations

Page 3 of4

ARBITRATION pursuant to Three Orden of Hon. Marv|n lsgur Nos. 243, 244 and 245 “Orders Appolnting Arbitrator” (ECF. No. 245); “Order on
Subject Matter Jurisdiction” (ECF. No. 244); and “Order Denying lmmedlate keller and Referring Dispute to Arbl¢ration” (ECF No. 243), each signed by
lodge lagur an Oct. 17, 1016. (“3 Rulings of 10.11.l6”)

Case 01-23337 Document 259 Filed in TXSB on 04/12/17 Page 4 of 4

14.The Federal Arbitrath will prepare her final bill to the parties for this series
of Arbitrations and submit that bill to them. The parties shall use good faith
and best efforts to pay the bill Within ten days of receipt of the bill.

15. The Federal Court’s Permanent lnjunction (Doc 48) entered October 18,
2002, is dissolved, effective ten days from entry of this Order.

16.This Ruling is not a Ruling on the merits of any issue e.g. Standing, Res
Judicata or Limitations, nor is ita ruling on the question of whether any matter
may or need be referred by the Probate Court to an Arbitrator of his choice

“
signed this izaay orAp!§\"i 2017

BARBARA RADN<)FSKY, Arbnmwr `

 
  

 

 

Page 4 of 4

ARB!TRAT|ON pursuant to Three Ord¢rs of Hon. Marvin hgur .\`os. 243, 244 and 245 “Orders .~\ppointing Arbitrator” (EC F. No. 245}: “Order on
Subject Mamr Jurisdiction” (ECF. No. 244): and “Order Denying lmmedllte Relief and Referring Dispute to i\rhllration“ (ECF E\'o. 243). each signed by
lodge lxgur on Oct. 17, 2016. ("‘} Rulings 0{10.17.16”)

